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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
HADI ABUATELAH,                                     )
                                                    )
Plaintiff,                                          ) No.22CV03998
                                                    )
v.                                                  )
                                                    ) JURY DEMANDED
CHIEF OF OAK LAWN POLICE DANIEL                     )
VITTORIO, OFFICER B. COLLINS, OFFICER P. O’DONNELL, )
OFFICER B.P. CARLSON, and THE VILLAGE OF            )
OAK LAWN,                                           )
Defendants.                                         )
                            NOTICE OF FILING

       On 08/25/22, Plaintiff Hadi Abuatelah caused to be filed with the Clerk of the District
Court of Northern District of Illnois his First Amended Complaint.



                                  CERTIFICATE OF SERVICE
I, the undersigned, an attorney, state that I have served by The attached First Amended
Complaint by emailing a copy to Kevin Casey kcasey@pjmchicago.com on 8/25/22.


/s/ Zaid Abdallah
Zaid Abdallah
Attorney for Defendant
16345 Harlem Ave Suite 250
Tinley Park Illinois 60477
312.229.0008
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